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_________________________________________________________________________________

                                                    SO ORDERED,



                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI


IN RE: HENRY EDWARD ANDERSON
& DIANE ANDERSON                                              CHAPTER 13

DEBTORS                                                       CASE NO. 14-12391 JDW

                                  ORDER AVOIDING LIEN

       This matter came before the Court on the motion of Debtor’s Motion to Avoid Lien of Non-

Possessory, Non-Purchase Money Security Interest of Creditor Fidelity National Loans no response

having been filed by the deadline set by the Court, the Court finds as follows:

       IT IS, THEREFORE, ORDERED that the lien against the 18" Gold Rope Necklace,

 Diamond Tennis Bracelet,Gold Bangle Bracelet, Gold Hoop Earrings, 3-Gold Bracelets,

 Snapper Riding Mower, Gas Weedeater, Craftsman Tools, HP Computer, HP Printer and,

 Digital Camera, held by Fidelity National Loans, upon completion of the Debtor’s plan and

 issuance of a discharge under 11 U.S.C. Section 1328(a) and not otherwise and the lien shall not

 survive bankruptcy, affix to or remain enforceable against the Debtors and their exempt property.

                                               #ENDOFORDER#
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